       Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 1 of 11


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18
                         IN THE UNITED STATES DISTRICT COURT
19
                                FOR THE DISTRICT OF ARIZONA
20

21   Kari Lake and Mark Finchem,               No. 2:22-cv-00677-JJT
22                Plaintiffs,                  MARICOPA COUNTY DEFENDANTS’
23                                             REPLY IN SUPPORT OF RULE 11
     vs.                                       AND 28 U.S.C. § 1927 MOTION FOR
24                                             SANCTIONS
     Kathleen Hobbs, et al.,
25
                 Defendants.
26                                             (Honorable John J. Tuchi)

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       Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 2 of 11



1           Defendants Bill Gates, Clint Hickman, Jack Sellers, Thomas Galvin, and Steve
2    Gallardo in their official capacities as members of the Maricopa County Board of
3    Supervisors (“the County”) respectfully reply in support of their motion (the “Motion”) for
4    sanctions pursuant to Rule 11 of the Federal Rules of Civil Procedure and 28 U.S.C. §
5    1927. Plaintiffs’ Response in Opposition (the “Response”) further demonstrates the
6    frivolous nature of this suit and sanctionable conduct on the part of Plaintiffs’ counsel. The
7    Response regurgitates the same baseless allegations in the First Amended Complaint
8    (“FAC”), and claims factual allegations in the FAC do not have their plain meaning.
9    Moreover, the Response itself contains numerous misrepresentations, providing further
10   bases for an award of sanctions.
11          I.      Plaintiffs’ brought a frivolous lawsuit with no factual or legal basis in
                    violation of Rule 11.
12
            Rule 11 requires that before an attorney files a pleading, motion or other paper in
13
     court, the attorney must first determine that the allegations therein are supported by an
14
     objectively reasonable legal and factual basis. Truesdell v. S. Cal. Permanente Med. Grp.,
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     209 F.R.D. 169, 173 (C.D. Cal. 2002). Plaintiffs’ counsel did not meet their Rule 11
16
     obligations.
17
                    a. Plaintiffs’ counsel knew or should have known there was no evidence
18                     to support the allegations in their FAC that Arizona voting systems
                       are vulnerable to hacking and malicious manipulation.
19
            The Response consists primarily of Plaintiffs restating the same erroneous factual
20
     assertions contained in the FAC and making conclusory statements that, for example,
21
     “Plaintiffs’ Complaint and Motion for Preliminary Injunction far surpass” the Rule 11
22
     threshold. (Response at 3) As evidenced by this Court’s August 26, 2022, Order dismissing
23
     this case in its entirety, Plaintiffs’ conclusory statements are incorrect and insufficient to
24
     show they have met their Rule 11 obligations. (Doc. 100)
25
            For instance, in dismissing this case, the Court found no factual basis for the
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     allegations in the FAC that Arizona’s “electronic voting systems do not provide a secure,
27
     transparent, or reliable vote count.” (Response at 3, citing FAC paragraphs 71-89). The
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      Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 3 of 11



1    Court made its determination based on publicly available information that is “not subject
2    to reasonable dispute pursuant to Fed. R. Evid. 201(b)(2).” (Doc. 100 at 7 n.5) Indeed,
3    the Court held there was no plausible basis for Plaintiffs’ claims that Arizona’s ballot
4    tabulation equipment is vulnerable to security failures. Specifically finding,
5
            Defendants have taken numerous steps to ensure such security failures do not
6           exist or occur in Arizona or Maricopa County. As the Court chronicled in
            painstaking detail in Section I.B., every vote cast can be tied to a paper ballot
7           (see A.R.S. §§ 16-442.01; § 16-446(B)(7); 2019 EPM at 80), voting devices
8           are not connected to the Internet (see Doc. 29, Ex. 6) any ports are blocked
            with tamper evidence seals (see Tr. 177:5-20), and access to voting
9           equipment is limited (see Tr. at 179:15-20)
10
            (Id. at 15 n.13)
11          Had Plaintiffs’ counsel engaged in the bare minimum Rule 11 factual and legal
12   investigation required, they would have come to the same conclusion. Thus, they either
13   failed to do so—or, they did the proper investigation, but improperly pursued their claims
14   anyway. Under either scenario, they have violated Rule 11.
15          Worse, County counsel raised these concerns with Plaintiffs’ counsel at the outset
16   of this case, in its May 20, 2022 correspondence, giving them ample opportunity to either
17   amend or withdraw the FAC. (Motion, Ex. 1, May 20, 2002, Correspondence) Among other
18   things, County’s counsel explained that it “disputes these unfounded assertions regarding
19   the unreliability of machine counting and that the Amended Complaint contains a single
20   plausible factual allegation that supports the existence of these vulnerabilities in Maricopa
21   County.” Id. The County also provided the link to the publicly available final report of the
22   Special Master arranged for by the Arizona Senate and Maricopa County that debunked
23   the baseless assertions in the FAC. Id. Nevertheless, Plaintiffs continued to pursue these
24   frivolous claims, wasting valuable time, taxpayer money and judicial resources. Plaintiffs’
25   counsels’ conduct violated Rule 11.
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       Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 4 of 11



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                   b. Plaintiffs’ counsel knew or should have known there was no legal
2                     basis for their claims.
3           Plaintiffs’ bizarre comparison of elections in Arizona to the Covid-19 pandemic
4    further evidences their failure to do the bare minimum legal analysis before bringing their
5    claims. (Response at 5) Specifically, they assert their baseless pleading in Federal Court is
6    akin to a fictional “Cassandra” telling hospitals in Arizona to prepare to treat Covid-19
7    patients in Arizona in January of 2020. Id. As an initial matter, Defendants wonder, again,
8    whether Plaintiffs have any communication at all with their own clients, in particular Mr.
9    Finchem      who     has     publicly    questioned      the    existence     of    Covid-19.
10   https://www.cnn.com/2022/02/16/politics/trump-mark-finchem-arizona-secetary-state-
11   kfile/index.html.
12          But, more importantly, Plaintiffs’ statement, on page 5 of the Response, that they
13   were not required to provide any evidence of ballot manipulation and they had sufficient
14   basis to pursue their claims because, “an absence of undisputed evidence that a particular
15   harm has happened before in a particular location does not prove that the harm cannot
16   happen in the future, particularly where similar events have happened elsewhere” shows
17   that Plaintiffs ignored the basic pleading standards necessary in Federal Court. See e.g.
18   Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (to meet the standing requirement
19   a threatened injury must be “actual or imminent” and “certainly impending”, “allegations
20   of possible future injury are not sufficient”). The most basic legal research concerning the
21   threshold issue in any litigation – whether a party has standing - easily would have revealed
22   that this theory of the case, based on pure conjecture and speculation, is insufficient to give
23   Plaintiffs standing to pursue their claims in Federal Court. Plaintiffs’ counsel violated Rule
24   11.
25          II.    Plaintiffs Cannot Rewrite the FAC Now.
26          In its Motion, Defendants identified three specific areas in which counsel for
27   Plaintiffs asserted clearly erroneous facts: (1) that Arizona voters do not vote by hand on
28   paper ballots. (FAC, ¶¶ 7, 58-60, 153). (2): that Arizona’s election equipment is not
                                               3
         Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 5 of 11



1    independently tested by experts. (FAC, ¶¶ 20, 57, 69) and (3) that Arizona’s tabulation
2    results are not subject to vote-verifying audits. (FAC, ¶¶ 23, 72, 144-52.) Plaintiffs’
3    Response attempts to rewrite the FAC, asserting that words to do not have their plain
4    meaning. These misguided efforts are insufficient to overcome Rule 11 sanctions.
5            Indeed, Plaintiffs inexplicably assert that they knew all along that Arizona uses
6    paper ballots and the FAC “presumed” this fact. (Response at 8) A review of FAC
7    paragraph 153 alone belies this assertion; it states, “Plaintiffs seek for the Court to Order
8    (sic), an election conducted by paper ballots, as an alternative to the current framework.”
9    (FAC ¶ 153) This sentence could not be more clear. Further, if, in fact, Plaintiffs requested
10   relief - requiring paper ballots - that they knew already existed and was legally required in
11   Arizona, the County is hard-pressed to find a more frivolous claim for relief or larger waste
12   of judicial resources.
13           Plaintiffs also assert that the County unreasonably “read” into their request for an
14   order that Arizona’s election be “conducted by paper ballot”, an “inference that Arizona
15   does not currently use paper ballots”. (Response at 9) If that is the case then, evidently
16   (according to Plaintiffs’ theory) the Court is similarly unreasonable. Indeed, the Court’s
17   Order dismissing this case specifically addresses that “every Arizona voter casts a ballot
18   by hand on paper” and explains in detail that this is both currently required by Arizona law
19   and the practice in Arizona. (Doc. 11 at 8-9) Moreover in its Order dismissing this matter,
20   the Court states, “[i]n any event, insofar as Plaintiffs argue a constitutional violation
21   grounded in Arizona’s failure to require voting by paper ballots, there allegations are flatly
22   wrong…” (Doc. 100 at 17 n.15)
23           Plaintiffs also assert that their references to paper ballots in the FAC are
24   “immaterial” and that “immaterial discrepanc[ies]” do not justify Rule 11 sanctions.
25   (Response at 8-9) As an initial matter, Plaintiffs cite to inapposite cases, none involving
26   election administration, from outside the 9th Circuit for this proposition.1 Id. Nevertheless,
27
     1
       For instance, Kiobel v. Millson, 592 F. 3d 78 (2d. Cir. 2010) involved a factual error
28   regarding a party unintentionally adding $3,000 to a damages figure at issue. The Court
                                                  4
       Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 6 of 11



1    even if this were the status of the law in the 9th Circuit, Plaintiffs’ allegations concerning
2    paper ballots are not “immaterial.” Arizona’s use of paper ballots is a critical component
3    of Arizona’s election administration because they “can be used in event of an audit.” (Doc.
4    100 at 8) Moreover, Plaintiffs heavily relied on Curling v. Raffensperger, No. 1:17-CV-
5    2989-AT (N.D. Ga. Feb. 3, 2022), throughout their pleadings, both the findings of the court
6    in that matter and the expert testimony provided by Professor J. Alex Halderman. But that
7    case hinged, in large part, on the fact that Georgia did not use paper ballots or have an
8    auditable paper trail. But, as the Court rightly pointed out, Professor Halderman clearly
9    indicated that a state could “eliminate or greatly mitigate” most of the risks and concerns
10   upon which he opined by the use of paper ballots, and “[t]his is already the practice in
11   Arizona.” (Doc. 100 at 8 n.7 (citing Curling, No. 1:17-CV-2989-AT (N.D. Ga. Feb. 3,
12   2022)). Plaintiffs did not inform the Court of this fact. Their failure to do so, coupled with
13   the way they chose to characterize the Raffensperger decision and the Halderman
14   declaration, constitute a material misrepresentation of law and fact that might have been
15   an attempt to mislead this Court.
16          Plaintiffs similarly assert that they never claimed Arizona does not test its machines
17   or audit its elections results. (Response at 8-9) They also attempt to re-write their FAC by
18   claiming that their allegation was only that Arizona’s election equipment is not tested by
19   neutral experts. But, as just one example, Paragraph 2 of the FAC states, “[t]the use of
20   untested and unverified voting machines violates the rights of Plaintiffs and their fellow
21   voters and office seekers, and it undermines public confidence in the validity of election
22   results.” The terms “untested” and “unverified” could not be more clear. Plaintiffs may
23   concede now, when facing a motion for sanctions, that the election equipment used by the
24   County and all the counties in Arizona undergo testing. But that is not what the FAC
25   alleged.
26

27
     found it was an “isolated factual error” made in good faith, nothing like the numerous and
28   blatant misstatements at issue in this matter. Id. at 83.
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       Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 7 of 11



1           Likewise as to Plaintiffs’ allegation that “[t]he recent hand count in Maricopa
2    County, the second largest voting jurisdiction in the United States, offers Defendant Hobbs
3    a proof-of-concept and a superior alternative to relying on corruptible electronic voting
4    systems” (FAC, ¶ 155) Plaintiffs assert this is a “matter of judgment” and “superiority can
5    – and should, here – be judged based on the transparency of a vote counting process, not
6    merely the speed or cost.” (Response at 12) This nonsensical explanation has nothing to
7    do with the actual allegations in Plaintiffs’ FAC or the claims they assert. Plaintiffs claimed
8    that Arizona’s machine tabulation of ballots cannot be trusted to provide accurate election
9    results and asserted the Cyber Ninjas “audit” proves hand counting is more accurate. But,
10   this is incorrect and the Court found accordingly when it addressed Plaintiffs’ request for
11   Preliminary Injunction via footnote. Specifically, the Court found,
12          Not only do Plaintiffs fail to produce any evidence that a full hand count
            would be more accurate, but a hand count would also require Maricopa
13          County to hire 25,000 temporary staff and find two million square feet of
            space...”
14
     (Doc 100 at 2 n.1).
15
            III.   Representations in the Response Alone Justify an Award of Sanctions.
16
            Plaintiffs assert that “Maricopa does not dispute the legal theory behind Plaintiffs’
17
     constitutional claims[.]” (Response at 4) This is patently false. Maricopa County moved
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     for dismissal of this matter, on several bases, including Plaintiffs’ failure to allege a
19
     cognizable legal theory. Specifically, the County’s motion to dismiss separately addressed
20
     the absence of any legal basis for Plaintiffs’ “fundamental right to vote,” equal protection,
21
     § 1983, and § 2201 claims. (Doc. 27 at 14-19) The County also articulated its intended
22
     bases for requesting dismissal in its May 20, 2022, correspondence. (Motion, Ex. 1, May
23
     20, 2002, Correspondence)
24
            Plaintiffs’ Response also misrepresents the record in this matter. Plaintiffs assert
25
     that the specific harm they sought to prevent in the FAC “has specifically happened in
26
     Arizona before” claiming that Professor Walter Daugherity’s nonsensical report proves
27
     that there was “‘artificial control’ manipulation of ballots during the 2020 election in
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                                                     6
       Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 8 of 11



1    Maricopa County.” (Response at 4) Plaintiffs falsely assert that “[n]one of the Defendants
2    provided any evidence whatsoever to contradict Daugherity’s analysis, leaving it
3    undisputed in the record.” Id. This is absolutely false.
4           First, Mr. Jarrett’s testimony along with the Maricopa County Defendants’ detailed
5    rebuttal to the Cyber Ninjas’ report entirely rebuts any allegation that any manipulation of
6    vote totals occurred in Maricopa County in 2020. In addition, all Defendants in this matter
7    moved to strike Daugherity’s testimony in its entirety because, among other reasons, “[h]is
8    methodology defies all explanation and logic, and Daugherity provides no evidence that it
9    has ever been subject to peer review or has any level of acceptance within the scientific
10   community.” (Doc. 74, Motion to Strike, at 7. See also Doc. 75, Maricopa County’s
11   Joinder) Further, as the Court pointed out in its Order, even Cyber Ninja’s own report, that
12   Plaintiffs offered into evidence, contradicts Daugherity’s alleged theory in finding,
13
            [T]here were no substantial differences between the hand count of the ballots
14          provided and the official election canvass results for Maricopa County. This
            is an important finding because the paper ballots are the best evidence of
15          voter intent and there is no reliable evidence that the paper ballots were alter
16          to any material degree.”

17   (Doc. 100 at 4 n.2 (quoting Maricopa County Forensic Election Audit, Volume I at 1-3).
18          IV.    Plaintiffs’ Counsel Violated Section 1927.
19           Plaintiffs’ continued pursuit of its claims, long after the Maricopa County
20   Defendants’ counsel alerted them to their futility, violates Section 1927 and Plaintiffs offer
21   no reasonable basis for the Court to find otherwise. “Section 1927 authorizes the
22   imposition of sanctions against any lawyer who wrongfully proliferates litigation
23   proceedings once a case has commenced.” Pacific Harbor Capital, Inc. v. Carnival Air
24   Lines, Inc., 210 F.3d 1112, 1117 (9th Cir. 2000).
25          In particular, Plaintiffs violated Section 1927 when they moved for injunctive relief
26   after the County clearly alerted them, especially in its May 20, 2022 correspondence and
27   also its Motion to Dismiss, to the fact that there was no legal basis and, even if there was,
28   the Purcell principle barred an injunction in this matter. (Motion, Ex. 1, May 20, 2002,
                                                   7
      Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 9 of 11



1    Correspondence). This Court agreed, finding Plaintiffs could not meet a single Winter
2    factor and their request was barred by Purcell . (Doc. 100 at 2 n.1 and 18-20)
3           Plaintiffs’ improper conduct forced the Court to hold a lengthy preliminary
4    injunction hearing that wasted judicial resources. Most troubling is that Plaintiffs, their
5    financial backer, Michael Lindell, and their counsel attempted to use this hearing as a
6    further effort to promote their disinformation campaign about Arizona elections and
7    election integrity. Sadly, this resulted in the County’s witness and counsel being confronted
8    upon exiting the courtroom by someone who had watched the proceedings, who called
9    them “liars” and “traitors.” These events were subsequently posted on the internet,
10   furthering this false narrative that the election equipment and results cannot be trusted.
11   https://rumble.com/v1dip13-no-evidence-of-election-fraud-gail-golec-challenges-
12   attorneys.html. The video shows that Mr. Lindell participated in these verbal attacks. This
13   likely would not have happened had Plaintiffs and their counsel not filed a baseless lawsuit
14   alleging nonexistent problems with Arizona’s election equipment. This is just one example
15   of the unfortunate and detrimental consequences of attorneys violating their Rule 11
16   obligations and filing baseless and frivolous lawsuits concerning election integrity.
17   Attorneys must be held to a higher standard.
18          V.     Conclusion
19         Plaintiffs’ counsel has shown a pattern of improper conduct throughout this
20   litigation. As addressed above and in the Motion, they have continued to pursue baseless
21   and frivolous claims and sought injunctive relief that was time-barred. In addition, as the
22   Court pointed out in its Order, Plaintiffs falsely asserted in open court that they were not
23   asserting claims based on state law when the FAC repeatedly made such allegations. (Doc.
24   100 at 18 n.16) Further, they engaged in “potential gamesmanship” by requesting to
25   supplement the record after the hearing in this matter. (Id. at 21 n.17) For these reasons,
26   pursuant to Rule 11 and Section 1927, the County seeks its reasonable attorneys’ fees
27   incurred from the date that Plaintiffs filed the First Amended Complaint up until the
28   Court’s ruling on the present motion, or in an amount the Court deems sufficient “to deter
                                                   8
      Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 10 of 11



1    repetition of such conduct or comparable conduct by others similarly situated.” Fed R. Civ.
2    P. 11(c)(4).
3

4          RESPECTFULLY SUBMITTED this 31st day of August, 2022.
5
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      Case 2:22-cv-00677-JJT Document 102 Filed 08/31/22 Page 11 of 11


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